      Case 1:21-cv-02265-APM Document 170-1 Filed 12/23/22 Page 1 of 8




                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA

    CONRAD SMITH, et. al.,                 )
                                           )
                        Plaintiffs,        )
                                           )
       v.                                  )   Civil Case No. 1:21-cv-02265-APM
                                           )
    DONALD J. TRUMP, et al.,               )
                                           )
                        Defendants.        )
                                           )

   TRUMP DEFENDANTS’ MEMORANDUM IN SUPPORT OF MOTION FOR
  PROTECTIVE ORDER REGARDING PREMATURE DISCOVERY REQUESTS

      Defendants Donald J. Trump, Donald J. Trump for President, Inc., and Make

America Great Again PAC (collectively, “Trump Defendants”), move this Court to

grant a protective order regarding premature discovery requests sent by Plaintiffs to

the Defendants, while motions to dismiss, including a claim of immunity, and motions

to stay discovery remain pending. The requests were sent in violation of well settled

law. Consequently, the Court should enter a protective order abrogating these

requests or administratively staying all pretrial matters, including all discovery

requests, pending its decisions on the Trump Defendants’ motions to dismiss and to

stay all proceedings.

                                      BACKGROUND

      On January 6, 2021, President Trump urged Americans to “peacefully and

patriotically make [their] voices heard.” When demonstrators entered the Capitol,

President Trump issued a video statement encouraging them to “go home and go
      Case 1:21-cv-02265-APM Document 170-1 Filed 12/23/22 Page 2 of 8




home in peace.”1 Notwithstanding President Trump’s clear calls for peace, these

Plaintiffs wish to continue to perpetuate partisan dispersions that falsely seek to

blame President Trump for the acts of some demonstrators. Instead, a recent

congressional report found that Speaker Pelosi and her staff were largely to blame

for the security failure at the Capitol that day, due to “partisanship, incompetence,

and indifference.”2

      As the Court knows, several civil cases were filed against President Trump

regarding the unrest on January 6, 2021. This Court has heard motions to dismiss in

previously filed cases and entered an order granting in part and denying in part the

motions. Thompson v. Trump, 590 F. Supp. 3d 46 (D.D.C. 2022). As the orders denied,

in part, President Trump’s assertion of absolute immunity, those orders are now

being considered on appeal before the U.S. Court of Appeals for the D.C. Circuit. See

generally Blassingame, et al. v. Trump, No. 22-5069. The Court heard argument on

December 7, 2022. On December 20, 2022, it entered a per curium order inviting the




   1 Kathy (@KathWoolbright), TWITTER (December 9, 2022, 11:44 PM),

https://twitter.com/KathWoolbright/status/1601437801652031490?s=20&t=rPJdCf0
wZdxIKRAQaGrdxA. See also President Donald J. Trump (@realDonaldTrump),
TWITTER (January 6, 2020, 3:13 PM),
https://twitter.com/realDonaldTrump/status/1346912780700577792.

   2 John Solomon,House GOP locates emails, texts showing Pelosi office directly
involved in failed Jan. 6 security., JUST THE NEWS (December 23, 2022),
https://justthenews.com/government/congress/house-gop-locates-emails-texts-
showing-pelosi-office-directly-involved-failed; See also Report of Investigation:
Security Failures at the United States Capitol on January 6, 2021, available at
https://justthenews.com/sites/default/files/2022-
12/FINAL%20Report%20of%20Investigation.pdf.

                                          2
         Case 1:21-cv-02265-APM Document 170-1 Filed 12/23/22 Page 3 of 8




United States Department of Justice to file a brief amicus curiae in the matter by

January 17, 2023. The parties will respond to that brief by January 31, 2023.

         On or about December 3, 2021, Plaintiffs filed their Amended Complaint in

this matter. Dkt. 89. Thereafter, Defendants moved this Court in their respective

motions to dismiss. The Trump Defendants moved for dismissal of the claims within

the Amended Complaint on multiple grounds, including absolute presidential

immunity, on January 31, 2022. Dkt. 103, see also, Dkt. 103.1 and Dkt. 129. This

motion, along with other defendants’ motions to dismiss, is still pending before this

Court. On July 27, 2022, the Trump Defendants also filed a Motion for Stay of this

entire case pending the resolution of the Trump Defendants’ Motion to Dismiss. Dkt.

154.1.

         On December 1, 2022, Plaintiffs sent discovery requests to the Defendants,

even though motions to dismiss were pending, that include a claim of immunity. The

requests were sent despite numerous efforts by Defendants to advise counsel for

Plaintiffs of the legal prohibition of pretrial proceedings, including discovery, while

these motions to dismiss are pending. Instead, counsel for Plaintiffs insisted on

needlessly multiplying the proceedings in this case and sent the vexatious discovery

requests, without a basis in law and in clear violation of their duties as officers of this

court. Should they not promptly withdraw their requests, a motion regarding these

failures is forthcoming.




                                             3
      Case 1:21-cv-02265-APM Document 170-1 Filed 12/23/22 Page 4 of 8




                                     ARGUMENT

       It is appropriate for the Court to grant a protective order including an

administrative stay while the Trump Defendants’ motions are pending because the

pendency of a motion to dismiss on a threshold issue generally precludes discovery.

Federal Rule of Civil Procedure 26(c).

      The D.C. Circuit has already determined that it is “generally considered

inappropriate” to begin discovery “while a motion that would be thoroughly

dispositive of the claims in the Complaint is pending.” Institut Pasteur v. Chiron

Corp., 315 F. Supp. 2d 33, 37 (D.D.C. 2004) (quoting Anderson v. United States

Attorneys Office, Civ. No. 91-CV-2262-LFO, 1992 WL 159186, at *1 (D.D.C. Jun. 19,

1992)). It is common for courts to grant stays where the resolution of a pending

dispositive motion could obviate the need for discovery entirely. See, e.g., White v.

Fraternal Order of the Police, 909 F.2d 512, 516–17 (D.C. Cir. 1990) (upholding the

district court’s stay of discovery pending resolution of defendants’ motion for

summary judgment); U.S. v. Manigault Newman, No. 19-CV-1868-RJL (Minute

Order Dec. 6, 2019) (staying discovery pending resolution of a motion to dismiss);

Moore v. Castro, 2016 WL 10674309, at *1 (staying initiation of discovery as well as

the Rule26(f) conference and Rule 16(b) scheduling order pending resolution of

defendants’ motion to dismiss). Further, Local Civil Rule 16-3(c) of this Court requires

parties to a case to discuss whether the parties should jointly suggest a stay to the

Court when dispositive motions are pending.




                                           4
       Case 1:21-cv-02265-APM Document 170-1 Filed 12/23/22 Page 5 of 8




      More importantly, the Supreme Court has been clear: “until a threshold

immunity question is resolved, discovery should not be allowed.” Harlow v.

Fitzgerald, 457 U.S. 800, 818 (1982); see also Crawford-El v. Britton, 523 U.S. 574,

598 (1998) (requiring that district courts resolve immunity disputes before allowing

discovery to proceed). Absolute immunity is designed to entitle a President (and other

specific defendants such as members of Congress and the Judiciary) to be spared from

all the burdens of litigation. See Mitchell v. Forsyth, 472 U.S. 511, 526 (1985)

(recognizing that immunity is an entitlement to avoid the burdens of litigation);

Nixon v. Fitzgerald, 457 U.S. 731, 746 (1982) (finding that immunity exists in

qualified and absolute form depending on the executive branch officials function and

protects from the burdens of litigation). Indeed, “the purpose of conferring absolute

immunity is to protect officials not only from the ultimate liability but also from the

time-consuming, distracting, and unpleasant aspects of a lawsuit, including

discovery.” District of Columbia v. Jones, 919 A.2d 604, 611 (D.C. 2007); see also

Chang v. United States, 246 F.R.D. 372, 374 (D.D.C. 2007) (early adjudication of

immunity disputes is necessary “to spare the official of the tribulation and expense of

defending the suit at all”).

      This stay does not apply simply to President Trump, but rather to all further

proceedings in this case, as to all parties, while the question of immunity is considered

on appeal. The Supreme Court specifically declined to provide for allowing pretrial

proceedings to continue for other defendants while it is deferred as to the party

seeking immunity. Ashcroft v. Iqbal, 556 U.S. 662, 685-86 (2009).




                                            5
       Case 1:21-cv-02265-APM Document 170-1 Filed 12/23/22 Page 6 of 8




      The Court was quite clear on this question when it held it “quite likely that,

when discovery as to the other parties proceeds, it would prove necessary for

petitioners and their counsel to participate in the process to ensure the case does not

develop in a misleading or slanted way that causes prejudice to their position. Even

if petitioners are not yet themselves subject to discovery orders, then, they would not

be free from the burdens of discovery.” Id. The Supreme Court went on to determine

that “[i]t is no answer ... to say that discovery for [one defendant] can be deferred while

pretrial proceedings continue for other defendants.” Id. at 685.

      Consequently, it is inappropriate to begin discovery before the pending motions

are resolved, especially as President Trump has raised the defense of absolute

immunity, which is a bar to all burdens of litigation, including discovery. Therefore,

the Trump Defendants respectfully request the Court enter a protective order,

including an administrative stay of all proceedings, until its decision on the pending

motions is issued.

                          CERTIFICATE OF CONFERENCE

      Counsel for the Trump Defendants sought to resolve this matter without the

Court’s intervention before filing this motion. Plaintiffs, however, relayed their

opposition to the motion.


Dated: December 23, 2022                         Respectfully submitted,

                                                 /s/ Jesse R. Binnall
                                                 Jesse R. Binnall (VA022)
                                                 BINNALL LAW GROUP, PLLC
                                                 717 King Street, Suite 200
                                                 Alexandria, Virginia 22314
                                                 Tel: (703) 888-1943


                                             6
Case 1:21-cv-02265-APM Document 170-1 Filed 12/23/22 Page 7 of 8




                                   Fax: (703) 888-1930
                                   jesse@binnall.com

                                   Attorney for Donald J. Trump,
                                   Donald J. Trump for President, Inc.,
                                   and Make America Great Again PAC




                               7
      Case 1:21-cv-02265-APM Document 170-1 Filed 12/23/22 Page 8 of 8




                           CERTIFICATE OF SERVICE


      I certify that on December 23, 2022, a copy of the foregoing was filed with the

Clerk of the Court using the Court’s CM/ECF system, which will send a copy to all

counsel of record.



                                             /s/ Jesse R. Binnall
                                             Jesse R. Binnall

                                             Attorney for Donald J. Trump,
                                             Donald J. Trump for President, Inc.,
                                             and Make America Great Again PAC




                                         8
